                            •
     Case 4:18-cr-00239-A Document 36 Filed 10/16/18
                                                              cJI
                                                              Page 1 of 2 PageID 100
                                                                    OF DISTRICT COURT
                                                                NORTHERt; DIST. OF TX
                                                                FORT WORTH DIVISION
                        IN THE UNITED STATES DISTRICT COURflLED
                        FOR THE NORTHERN DISTRICT O~mJ~I 6 PH                   3: 38
                                FORT WORTH DIVISION
                                                             DEPUTY CLERK----
UNITED STATES OF AMERICA
                                                 No. 4: 18-CR-239-A
v.                                               [Supersedes Indictment returned on
                                                 September 19, 2018, as to defendant
BOBBY CAMPBELL (0 1)                             Campbell only.]

                                SUPERSEDING INFORMATION

The United States Attorney Charges:

                                         Count One
              Conspiracy to Possess with Intent to Distribute Methamphetamine
                               (Violation of 21 U.S.C. § 846)

        Beginning in or before August 2017, and continuing thereafter until on or around

July 11, 2018, in the Fort Worth Division of the Northern District of Texas, defendant

Bobby Campbell, along with others, did knowingly and intentionally combine, conspire,

confederate, and agree to engage in conduct in violation of21 U.S.C. § 841 (a)(1) and

(b)(1)(C), namely, to possess with intent to distribute a mixture and substance containing

a detectable amount of methamphetamine, a Schedule II controlled substance.




Superseding Information - Page 1 of 2
                            •
    Case 4:18-cr-00239-A Document 36 Filed 10/16/18          Page 2 of 2 PageID 101


        In violation of21 U.S.C. § 846 (21 U.S.C. § 841(a)(1) and (b)(l)(C)).




                                          Respectfully submitted,

                                          ERIN NEALY COX
                                          UNITED STATES ATTORNEY



                                          CH STOPHER R. WOLFE
                                          Assistant United States Attorney
                                          Texas State Bar No. 24008294
                                          801 Cherry Street, Suite 1700
                                          Fort Worth, Texas 76102
                                          Telephone: 817-252-5200
                                          Facsimile: 817-252-5455




Superseding Information - Page 2 of 2
